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                                          UNITED STATES COURT OF APPEALS FOR THE SECOND CIRCUIT

                        Thurgood Marshall U.S. Courthouse 40 Foley Square, New York, NY 10007 Telephone: 212-857-8500

                                                          MOTION INFORMATION STATEMENT
                        24-3115
      Docket Number(s): ________________________________________                _______________Caption [use short title]_____________________
                  Stay Pending Appeal
      Motion for: ______________________________________________

      ________________________________________________________

      ________________________________________________________

      Set forth below precise, complete statement of relief sought:
      Appellant moves for a stay pending appeal
      ______________________________________________                  ____
                                                                                 Levinson v. Citibank N.A.


      ________________________________________________________

      ________________________________________________________
                   KFH Malaysia
      MOVING PARTY:_______________________________________                Christine Levinson
                                                           OPPOSING PARTY:____________________________________________

                ___Plaintiff                ___Defendant

                ✔
                ___Appellant/Petitioner     ___Appellee/Respondent

                      Charlotte H. Taylor
      MOVING ATTORNEY:___________________________________                                 Daniel W. Levy
                                                                OPPOSING ATTORNEY:________________________________________
                              [name of attorney, with firm, address, phone number and e-mail]
      Jones Day
      ________________________________________________________ McKool Smith P.C.
                                                               _______________________________________________________________
      51 Louisiana Avenue, N.W.
      ________________________________________________________ 1301 Avenue of the Americas Ste. 32nd Floor
                                                               _______________________________________________________________
      Washington, D.C. 20001
      ________________________________________________________ New York, N.Y. 10019
                                                               _______________________________________________________________
                                          United States District Court, Southern District of New York, Hon. Loretta A. Preska
      Court- Judge/ Agency appealed from: _________________________________________________________________________________________

      Please check appropriate boxes:                                         FOR EMERGENCY MOTIONS, MOTIONS FOR STAYS AND
                                                                              INJUCTIONS PENDING APPEAL:
       Has movant notified opposing counsel (required by Local Rule 27.1):    Has this request for relief been made below?           ✔
                                                                                                                                    ___Yes ___No
                ✔
               ___Yes     ___No (explain):__________________________          Has this relief been previously sought in this court?         ✔
                                                                                                                                    ___Yes ___No
               _______________________________________________                Requested return date and explanation of emergency: ________________
                                                                              _____________________________________________________________
       Opposing counsel’s position on motion:
                                                                              _____________________________________________________________
                                 ✔
                ___Unopposed ___Opposed       ___Don’t Know
                                                                              _____________________________________________________________
       Does opposing counsel intend to file a response:
                                                                              _____________________________________________________________
                 ✔
                ___Yes    ___No ___Don’t Know


      Is oral argument on motion requested?                  ✔ (requests for oral argument will not necessarily be granted)
                                                     ___Yes ___No

      Has argument date of appeal been set?                   ✔
                                                     ___ Yes ___No If yes, enter date:_______________________________________________________

      Signature of Moving Attorney:

       /s/ Charlotte H. Taylor
      _________________________________      1/22/2025
                                        Date:__________________                       ✔
                                                                Service by: ___CM/ECF ___Other [Attach proof of service]




      Form T
      F    T-1080
             1080 ((rev.12-13)
                        12 13)
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                                     SEALED
                                      24-3115
                            United States Court of Appeals
                                for the Second Circuit
                                        CHRISTINE LEVINSON, ET AL.,
                                              Plaintiffs-Appellee,
                                                      – v. –
                                                CITIBANK, N.A.,
                                             Defendant-Appellee,
                                                      – v. –
                               KUWAIT FINANCE HOUSE (MALAYSIA) BERHAD,
                                      Defendant-Intervenor-Appellant.

                          On Appeal from the United States District Court for the
                                      Southern District of New York
                                        Case No. 21-cv-04795-LAP

                      KUWAIT FINANCE HOUSE (MALAYSIA) BERHAD’S
                          MOTION FOR STAY PENDING APPEAL

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                   January 22, 2025                            Additional Counsel Listed on
                                                               Inside Cover
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                          Counsel for Kuwait Finance House (Malaysia) Berhad
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                          CORPORATE DISCLOSURE STATEMENT

                    Pursuant to Federal Rule of Appellate Procedure 26.1, Defendant-

             Appellant Kuwait Finance House (Malaysia) Berhad (“KFH Malaysia”)

             hereby certifies that KFH Malaysia is wholly owned by Kuwait Finance

             House K.S.C., a publicly held company.




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                    Kuwait Finance House (Malaysia) Berhad (“KFH Malaysia”)

             respectfully moves this Court for a stay pending appeal



                                                        1



                                            INTRODUCTION

                    This case arises under the Terrorism Risk Insurance Act (“TRIA”),

             which allows plaintiffs holding judgments against terrorist parties to

             attach and execute on “blocked assets” of those parties and their

             “agencies [and] instrumentalities.” TRIA § 201(a), 28 U.S.C. § 1610 note.

             Plaintiffs hold a default judgment against Iran, a terrorist party.




             1 Pursuant to Local Rule 27.1(b), KFH Malaysia notified opposing counsel

             of this motion. Counsel opposes the motion and intends to file a response.

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                    It began with the district court granting an ex parte writ of

             execution—a post-judgment remedy—without first making any “findings

             as to whether TRIA indeed permits those assets to be seized.” Levinson

             v. Kuwait Fin. House (Malaysia) Berhad, 44 F.4th 91, 97 (2d Cir. 2022).

             This Court reversed. Id.




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                                                                                       KFH

             Malaysia has appealed and now seeks a stay pending appeal.




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                                     STATEMENT OF THE CASE

             I.     PRELIMINARY PROCEEDINGS AND FIRST APPEAL.

                    Plaintiffs are family members of a victim of Iranian terrorism.

             Plaintiffs obtained a default judgment against Iran, including $107

             million in compensatory damages.

                    Plaintiffs filed a complaint against Citibank for turnover of assets

             in KFH Malaysia’s bank account under TRIA and the New York Civil

             Practice Law and Rules (“CPLR”).                       KFH Malaysia has never

             been     sanctioned,     “blocked,”    or      identified   as   an   “agency   or

             instrumentality” of Iran by the U.S. or any other government.




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                                             JURISDICTION

                    This Court has jurisdiction under 28 U.S.C. § 1292(a)(1).           See

             Koehler v. Bank of Bermuda Ltd., 544 F.3d 78, 82 (2d Cir. 2008).

                                               ARGUMENT

                    This Court should stay                                             When

             assessing a stay request, courts consider: “(1) whether the movant has

             demonstrated a ‘strong showing that he is likely to succeed on the merits’;

             (2) whether the movant will suffer irreparable injury absent a stay;

             (3) whether the non-moving party will suffer substantial injury if a stay

             has issued; and (4) the public interests that may be affected.” SEC v.


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                    B.                                                        .




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             III. A STAY WILL NOT HARM PLAINTIFFS.

                    Plaintiffs face no cognizable prejudice from a stay.




             IV.    THE PUBLIC INTEREST FAVORS A STAY.




                                              CONCLUSION

                    KFH Malaysia respectfully requests that the Court stay

                               pending appeal.



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                                                              Respectfully submitted,

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                            Counsel for Kuwait Finance House (Malaysia) Berhad




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                                 CERTIFICATE OF COMPLIANCE

                    This motion complies with the typeface requirements of Federal

             Rule of Appellate Procedure 32(a)(5) and the type-style requirements of

             Federal Rule of Appellate Procedure 32(a)(6) because it has been

             prepared in a proportionally spaced typeface using Microsoft Word 2016

             in 14-point Century Schoolbook font.

                    This motion complies with the type-volume limitation of Federal

             Rule of Appellate Procedure 27(d)(2)(A) because, excluding the parts of

             the motion exempted by Federal Rule of Appellate Procedure 32(f), it

             contains 5,18 words, as determined by the word-count function

             of Microsoft Word 2016.




             Dated: January 22, 2025

                                                            /s/ Charlotte H. Taylor
                                                            Charlotte H. Taylor




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                                    CERTIFICATE OF SERVICE

                    I hereby certify that on January 22, 2025, I electronically filed this

             motion with the Court by e-mailing a PDF to the Court’s civil cases e-

             mail address, and I served a copy of the document on all counsel of record

             via email.




             Dated: January 22, 2025

                                                            /s/ Charlotte H. Taylor
                                                            Charlotte H. Taylor




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